UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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DEBORAH WOODS,

 

Plaintiff, Stipulation to Limit
Damages and Remand to
~agpainst- State Court
THE CITY OF NEW YORK, PORT AUTHORITY OF Docket No.: 15CV5167

NEWYORK AND NEW JERSEY and
POLICE/PEACE/SECURITY OFFICER “JOHN BOE”,

Defendant.

 

iF iS HEREBY STIPULATED TO AND AGREED by and between the undersigned
attorneys of record for the respective parties hereto that the plaintiff's damages are limited to no
more than $75,000.00 exclusive of interest, costs and disbursements, if any, and it is further,

STIPULATED TO AND AGREED that this. matter be remanded to the Supreme Court
of the State of New York for the County of Queens, and it is further,

STIPULATED TO AND AGREED that this limitation of damages shall apply in
Supreme Court Queens County, and tt is further,

STIPULATED TO AND AGREED that tor the purpose of this document, facsimile
copies will be treated as originals.

DATED New YorK, New York
February 17, 2016

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